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               IN THE UNITED STATES DISTRICT COURT
                                                                           FI LED
              FOR THE NORTHERN DISTRICT OF ILLINOIS JUL 06 2020 .-,1,
                                                                        THOMAS G. BRUTON
                                                                     CLERK, U.S. DISTRICT COURT

SECURITIES AND EXCHANGE
coMMISSION,                                                    1:20-cv{13966
      Plaintiff,                                           Judge John F. Kness
                          v.                          tagistrate Judge Susan E. Gor

BRENDA SMITH, BROAD REACH
CAPITAL, LP, BROAD REACH
PARTNERS, LLC, ANd BRISTOL
ADVISORS, LLC,

      Defendants




   NOTICE OF FILING OF COMPLAINT AND ORDER APPOINTING
            RECEIVER PURSUANT TO 28 U.S.C. 8 754

      By an order of the United States District Court for the District of New Jersey,

in SEC v. Smith, et al., Civ. No. 2:19-cv-17213-MCA, entered on June 29,2020,

Kevin D. Kent, Esquire was appointed the receiver ("Receiver") of all of the assets

and properties of Brenda Smith; Broad Reach Capital, LP; Broad Reach Partners,

LLC; and Bristol Advisors, LLC; and their Affiliated Entities, including BA Smith

& Associates LLC; Bristol Advisors LP; CV Brokerage, Inc.; Clearview Distribution

Services LLC; CV International Investments Limited; CV International lnvestments

PLC; CV Investments LLC; CV Lending LLC; CV Minerals LLC; BD of Louisiana,

LLC; TA 1, LLC;FFCC Ventures, LLC; Prico Market, LLC; GovAdv Funding
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LLC;Elm Street Investors LLC; Investment ConsultingLLC; and Tempo Resources

LLC. Pursuant to 28 U.S.C. 5 754,the Receiver hereby files copies of (a) the

Complaint filed on August 27,2019 (excluding attachments pertaining to the Ex

ParteMotion for a Temporary Restaining Order), (b) the Temporary Restraining

Order of August 27,20I9,(c) the Preliminary Injunction Order of September 10,

z}lg,and (d) the June 29,2020 Order appointing Receiver, attached hereto       as


Exhibits "A" through'0D", respectively, for the purpose of vesting the Receiver with

jurisdiction and control over all such property located within this District, with the

right to take possession thereof,




Dated: July 2,2020
                                                 S. Weiss, Esq.
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                                          Attorneyfor Receiver, Kevin D. Kent, Esq.
